9 F.3d 1545
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Craig LAWRENCE THOMAS, Defendant-Appellant.
    No. 93-6542.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  October 25, 1993.Decided:  November 15, 1993.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.
      Craig Lawrence Thomas, Appellant Pro Se.
      Gary Patrick Jordan, United States Attorney, Raymond Allen Bonner, Assistant United States Attorney, for Appellee.
      D.Md.
      DISMISSED
      Before ERVIN, Chief Judge, and PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Appellant noted this appeal outside the sixty-day appeal period established by Fed.  R. App.  P. 4(a)(1), failed to obtain an extension of the appeal period within the additional thirty-day period provided by Fed.  R. App.  P. 4(a)(5), and is not entitled to relief under Fed.  R. App.  P. 4(a)(6).  The time periods established by Fed.  R. App.  P. 4 are "mandatory and jurisdictional."   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting  United States v. Robinson, 361 U.S. 220, 229 (1960)).  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.  We therefore dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    